Case 1:05-cr-10048-RCL Document 1-2 Filed 03/02/05 Page 1 of 14

@J5 45 (5/97) - (Revised USAO MA 6/29/04)

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts

leet — coe

Place of Offense: _Lawrence Category No. II Investigating Agency FBI

City _Lawrence Related Case Information:

County Essex Superseding Ind./ Inf. Case No.
Same Defendant New Defendant

Magistrate Judye Case Number
Search Warrant Case Number
R 20/R 40 from District of

Defendant Information:

Defendant Name ROSA PENA Juvenile [| Yes No

Alias Name

Address 98 FOREST HILL STREET, JAMAICA PLAIN, MA

Birth date (Year only): 1956 SSN (last 4 #): 1304 Sex F Race: Hispanic Nationality: Dom. Republic

Defense Counsel if known: Address:

Bar Number:

U.S. Attorney Information:

AUSA Peter K. Levitt Bar Number if applicable 565761
Interpreter: [HLYes [| No List language and/or dialect: yes a» é.
Matter to be SEALED: [X] Yes [ ]No

Warrant Requested [_] Regular Process [_] In Custody

Location Status:

Arrest Date:

[ | Already in Federal Custody as in

[ Already in State Custody [| Serving Sentence [] Awaiting Trial
[ | On Pretrial Release: Ordered by on

Charging Document: [_] Complaint C] Information Indictment
Total # of Counts: [| Petty L] Misdemeanor Felony 1

Continue on Page 2 for Entry of U.S.C. Citations

[>t I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

{

: thon efi a
Date: “Ry [2 le a Signature of AUSA; SBEE eo
f , ec Z-
Case 1:05-cr-10048-RCL Document 1-2 Filed 03/02/05 Page 2 of 14

@JS 45 (5/97) - (Revised USAO MA 3/24/02) Page 2 of 2 or Reverse

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant ROSA PENA

U.S.C, Citations
Index Key/Code Description of Offense Charged

Set1 21 USC 846 CONSPIRACY DISTRIBUTE HEROIN

Count Numbers

Set 2

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:
Case 1:05-cr-10048-RCL Document 1-2 Filed 03/02/05 Page 3 of 14

eJS 45 (5/97) - (Revised USAOQ MA 6/29/04)

Criminal Case Cover Sheet ict Court - District of Massachusetts

Place of Offense: Lawrence Category No. II Investigating Agency FBI

City Lawrence Related Case Information:

County —_ Essex Superseding Ind./ Inf. Case No.
Same Defendant New Defendant

Magistrate Judge Case Number
Search Warrant Case Number
R 20/R 40 from District of

Defendant Information:

Defendant Name _JUAN MERCED-TORO Juvenile [_] Yes No

Alias Name BOTI

Address 304 SEVER STREET, WORCESTER, MA

Birth date (Year only): _1977_ SSN (last 4 #): 2050 Sex _M_ Race: _Hispanic Natronality: PUERTO RICO

Defense Counsel if known: Address:

Bar Number:

U.S. Attorney Information:

AUSA Peter K. Levitt Bar Number if applicable 565761
Ze ,
Interpreter: Dalyes [_] No List language and/or dialect: Lo1 trl > /
=F

Matter to be SEALED: [X] Yes [_]No
Warrant Requested [] Regular Process [ ]In Custody

Location Status:

Arrest Date:

[| Already in Federal Custody as in

[| Already in State Custody [| Serving Sentence [ Awaiting Trial

[| On Pretrial Release: Ordered by on

Charging Document: [ ] Complaint [ |] Information Indictment

Total # of Counts: [ | Petty [] Misdemeanor Felony 1
Continue on Page 2 for Entry of U.S.C. Citations

4] I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are

accurately set forth above.
Zn. af

Date: /2 le a, Signature of AUSA: LA JoLE LE
Case 1:05-cr-10048-RCL Document 1-2 Filed 03/02/05 Page 4 of 14

JS 45 (5/97) - (Revised USAO MA 3/25/02) Page 2 of 2 or Reverse

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant JUAN MERCED-TORO

U.S.C. Citations
Index Key/Code Description of Offense Charged
Set1 21 USC 846 CONSPIRACY DISTRIBUTE HEROIN

Count Numbers

Set 2

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:
Case 1:05-cr-10048-RCL Document 1-2 Filed 03/02/05 Page 5 of 14

@aI8 45 (3/97) - (Revised USAO MA 6/29/04)

Criminal Case Cover Sheltie? | Uk 4

a) Be “ah gp Be
4? & af Bt C24 District Court - District of Massachusetts

Place of Offense: Lawrence

Category No, II

City Lawrence

County —_ Essex

Defendant Information:

Investigating Agency FBI

Related Case Intormation:

Superseding Ind./ Inf, Case No.

Same Defendant New Defendant
Magistrate Judge Case Number
Search Warrant Case Number

R 20/R 40 from District of

Defendant Name ROSA IRIS VELASQUEZ TEJEDA Juventle [ ] Yes No

Alias Name

Address

Birth date (Year only): _ SSN (last 4 #): _____ Sex F Race: _flispanic __ Nationality: Dom. Republic
Defense Counsel if known: Address:

Bar Number:

U.S. Attorney Information:

AUSA Peter K, Levitt

Bar Number if applicable 565761

Interpreter:

tél Yes [] No
[X] Yes

Warrant Requested

Matter to be SEALED

Location Status:

Arrest Date:

List language and/or dialect:

—

LINAS (

[ ] No

[_] Regular Process [_] In Custody

[] Already in Federal Custody as
[ Already in State Custody

in

[ ] Serving Sentence [ Awaiting Trial

[| On Pretrial Release:
Charging Document:

Total # of Counts:

Ordered by

C] Complaint

[| Petty

on

[_] Information Indictment

Felony 1

[ ] Misdemeanor

Continue on Page 2 for Entry of U.S.C. Citations

| I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are

accurately set forth above.

Date: wef fe 5

Signature of AUSA:

LE

OLE BE

Case 1:05-cr-10048-RCL Document 1-2 Filed 03/02/05 Page 6 of 14

SUS 45 (5/97) - (Revised USAO MA 3/25/02) Page 2 of 2 or Reverse

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant ROSA IRIS VELASQUEZ TEJEDA

U.S.C, Citations
Index Kev/Code Description of Offense Charged
Set] 21 USC 846 CONSPIRACY DISTRIBUTE HEROIN

Count Numbers

Set 2

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:
Case 1:05-cr-10048-RCL Document 1-2 Filed 03/02/05 Page 7 of 14

JS 45 (5/97) - (Revised USAO MA  £/29104) a £e HS A £) r C ;
oN oe oT “ 2 e 4 3 Bats tne % . . .
Criminal Case Cover Sheet: * cf. 5 + See OR 'S" District Court - District of Massachusetts

Place of Offense: Lawrence Category No, II Investigating Agency
City Lawrence Related Case Information:
County —_ Essex Superseding Ind./ Inf. Case No.

Same Defendant New Defendant
Magistrate Judge Case Number
Search Warrant Case Number
R 20/R 40 from District of

Defendant Information:

Defendant Name Fermin Hermandez Juvenile [ ] Yes No

Alias Name

Address 1435 University Avenue. Bronx, NY

Birth date (Year only): 1962 SSN (last 4#): 1143 Sex _M Race: Hispanic Nationality:

Defense Counsel if known: Address:

Bar Number:

U.S. Attorney Information:

AUSA Peter K. Levitt Bar Number if applicable 565761
Interpreter: [x Yes [~] No List language and/or dialect: 2 LeNvar > C
Matter to be SEALED: [X] Yes [_]No

Warrant Requested [_] Regular Process [] In Custody

Location Status:

Arrest Date:

[| Already in Federal Custody as in

[ Already in State Custody [| Serving Sentence [ Awaiting Trial
[ ] On Pretrial Release: Ordered by on

Charging Document: [ | Complaint [| Information Indictment
Total # of Counts: [ ] Petty [| Misdemeanor Felony 1

Continue on Page 2 for Entry of U.S.C. Citations

[sy I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

Date: 5 Jd fe = Signature of AUSA:

“
t

Case 1:05-cr-10048-RCL Document 1-2 Filed 03/02/05

fad 45 (5/97) - (Revised USAO MA 3/25/02) Page 2 of 2 or Reverse

Page 8 of 14

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant Fermin Hernandez

U.S.C. Citations

Index Key/Code Description of Offense Charged

Set] 21 USC § 846 Conspiracy To Distribute Heroin

Count Numbers

Set 2

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:
Case 1:05-cr-10048-RCL Document 1-2 Filed 03/02/05 Page 9 of 14

*aJS 45 (5/97) - (Revised USAO MA 6/29/04)

Criminal Case Cover Sheet _ whe oe - he c US. District Court - District of Massachusetts
Place of Offense: Lawrence Category No. I Investigating Agency
City Lawrence Related Case Information:
County —_ Essex Superseding Ind./ Inf, Case No.
Same Defendant New Defendant

Magistrate Judge Case Number
Search Warrant Case Number
R 20/R 40 from District of

Defendant Information:

Defendant Name Carlos Ramirez Juvenile J Yes No

Alias Name Sumo

Address
Birth date (Year only): 1975 SSN (last 4 #): Sex M Race: Hispanic Nationality:
Defense Counsel if known: Address:

Bar Number:

U.S. Attorney Information:

AUSA Peter K. Levitt Bar Number if applicable 565761
Interpreter: Z Yes C] No List language and/or dialect: Dewan, > J.
. fr

Matter to be SEALED: EX] Yes [ ] No

Warrant Requested [_] Regular Process [] In Custody
Location Status:

Arrest Date:

[| Already in Federal Custody as in

[ Already in State Custody [| Serving Sentence [ Awaiting Trial
{_ ] On Pretrial Release: Ordered by on

Charging Document: [_] Complaint [J Information Indictment
Total # of Counts: [ ] Petty [| Misdemeanor Felony 1

Continue on Page 2 for Entry of U.S.C. Citations

[A J hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

Date: pA Jee. 35 Signature of AUSA: ACL LE OE

Case 1:05-cr-10048-RCL Document 1-2 Filed 03/02/05

®aJS 45 (5/97) - (Revised USAO MA 3/25/02) Page 2 of 2 or Reverse

Page 10 of 14

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant Carlos Ramirez

U.S.C. Citations

Index Kev/Code Description of Offense Charged

Setl 21 USC § 846 Conspiracy To Distribute Heroin

Count Numbers

Set 2

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:
Case 1:05-cr-10048-RCL Document 1-2 Filed 03/02/05 Page 11 of 14

JS 45 (5/97) - (Revised USAO MA 6/29/04) oe

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Lawrence Category No. II Investigating Agency
City Lawrence Related Case Information:
County Essex Superseding Ind./ Inf. Case No,
Same Defendant New Defendant

Magistrate Judge Case Number
Search Warrant Case Number
R 20/R 40 from District of

Defendant Information:

Defendant Name Jose Navarro Juvenile [7] Yes No

Alias Name Rene

Address _162 Blue Ledge Drive, Roslindale, MA

Birth date (Year only): 1962 SSN (last 4 #): Sex M Race: Hispanic Nationality: Puerto Rican
Defense Counsel if known: Address:

Bar Number:

U.S. Attorney Information:

AUSA Peter K. Levitt Bar Number if applicable 565761

Interpreter: [4 Yes |] No List language and/or dialect: oF MD G
f
Matter to be SEALED: EX] Yes [| No

Warrant Requested [__] Regular Process [_] In Custody
Location Status:

Arrest Date:

[_] Already in Federal Custody as in

[ Already in State Custody [ | Serving Sentence [ Awaiting Trial
[ | On Pretrial Release: Ordered by on

Charging Document: [_] Complaint [] Information Indictment
Total # of Counts: [| Petty [ Misdemeanor Felony 1

Continue on Page 2 for Entry of U.S.C. Citations

[ hereby certity that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

ee a
or

‘ ” nt Fwy we ae :
Date: “S /x Ie ~> Signature of AUSA: Wee for oo ME
co
Case 1:05-cr-10048-RCL Document 1-2 Filed 03/02/05

"aJ5 45 (5/97) - (Revised USAO MA 3/25/02) Page 2 of 2 or Reverse

Page 12 of 14

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant Jose Navarro

U.S.C. Citations

Index Key/Code Description of Offense Charged
Set1 21 USC § 846 Conspiracy To Distribute Heroin

Count Numbers

Set 2

Set 3

Set 4

Set §

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:
Case 1:05-cr-10048-RCL Document 1-2 Filed 03/02/05 Page 13 of 14

S58 45 (5/97) - (Revised USAO M

:
ct
Criminal Case Cover oid CR i CG 0 4 § R Gsbpistrict Court - District of Massachusetts

Place of Offense: Lawrence Category No. IT Investigating Agency

City _Lawrence Related Case Information:

County Essex Superseding Ind./ Inf. Case No.
Same Defendant New Defendant

Magistrate Judge Case Number
Search Warrant Case Number
R 20/R 40 from District of

Defendant Information:

Defendant Name Gladys Arce Juvenile [ ] Yes No

Alias Name

Address 5 Intervale Street, Dorchester, MA

Birth date (Year only): 1953 SSN (last 4#): 8223 Sex _F Race: Hispanic Nationality:

Defense Counsel if known: Address:

Bar Number:

U.S. Attorney Information:

AUSA Peter K. Levitt Bar Number if applicable 565761

Interpreter: [xyes [| No List language and/or dialect: Ze he =f4
Matter to be SEALED: [Xx] Yes [ ] No

Warrant Requested [_] Regular Process [ ]In Custody
Location Status:

Arrest Date:

[_] Already in Federal Custody as in

[ |] Already in State Custody [| Serving Sentence [ Awaiting Trial
[ ] On Pretrial Release: Ordered by on

Charging Document: [] Complaint [] Information Indictment
Total # of Counts: [] Petty L Misdemeanor Felony 1

Continue on Page 2 for Entry of U.S.C. Citations

Dt I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

—>
Date: "5 /s es Signature of AUSA: LEE A
ve i f
Case 1:05-cr-10048-RCL Document 1-2 Filed 03/02/05

®J8 45_ (5/97) - (Revised USAO MA 3/25/02) Page 2 of 2 or Reverse

Page 14 of 14

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant Gladys Arce

U.S.C. Citations

Index Key/Code Description of Offense Charged

Setl 21 USC § 846 Conspiracy To Distribute Heroin

Count Numbers

Set 2

Set 3

Set 4

Set §

Set 6

Set 7

Set 8

Set 9

Set 10

Set 1]

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:
